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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION
 GLOBAL PLASMA SOLUTIONS, INC., §
                                §
      Plaintiff,                §
                                §
 v.                             §
                                §
 D ZINE PARTNERS LLC,           §                         CIVIL ACTION NO. 3:21-CV-00884-M
 MARWA ZAATARI, and             §
 ENVERID SYSTEMS, INC.,         §
                                §
      Defendants.               §

                       ORDER REGARDING THE DISCLOSURE OF
                        CERTAIN ENTITIES AND INDIVIDUALS

       Before the Special Master are Defendant D Zine Partners LLC (“D Zine”) and Marwa

Zaatari’s (“Zaatari”) Motion to Serve Record Subpoenas on the Boston Consulting Group, Inc.,

the Boeing Company, Analytical Lab Group, LLC and Assured Bio Labs, LLC; Defendants’

Motion to Take Depositions of David Schurck, Gary Graham, Gary Fee on documents produced

in or after GPS’ 15 – Document Production (Dkt. 498) and Defendants’ request to compel Garris-

related termination documents. Also before the Special Master are Plaintiff Global Plasma

Solution, Inc.’s (“GPS”) Brief Regarding the Disclosure of Certain Entities and Individuals (Dkt.

502) and responses filed by Defendants D Zine, Zaatari and Enverid Systems, Inc. (Dkt. 498 and

Dkt. 497). After consideration of the relevant filings, evidence, oral arguments, applicable law and

reasons stated on the record during various Special Master Zoom hearings, Defendants’ request

and Motions are DENIED.

       These requests for five third-party subpoenas and three depositions represent additional

discovery and are untimely. See, e.g., Days Inn Worldwide, Inc. v. Sonia Invs., 237 F.R.D. 395

(N.D. Tex. 2006).

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        The parties in this matter have entered into numerous discovery agreements after the June

24, 2022, discovery deadline, and after the Court modified the trial setting to April 3, 2023 (Dkt.

420); however, the Court did not extend the discovery deadline. Throughout this lawsuit,

Defendants have had actual knowledge of the entities and individual deponents they now seek to

subpoena and depose.

        The evidence further reflects that these third parties’ documents, and especially test results,

have been known throughout the discovery process. The third-party deponents David Schurck and

Gary Graham’s depositions were discussed with previous counsel for Zaatari and D Zine in

February, 2022, four months before the discovery deadline. The deponent Gary Fee is not a trial

witness for any party. At this late date, further third-party discovery is not justified.

        Prior to the deposition of Keith Garris, the Special Master previously ordered GPS to

produce the GPS employment files for Keith Garris and to the extent that has not been forthcoming,

IT IS SO ORDRED.

        IT IS SO ORDERED.

Signed this 7th day of February, 2023.



                                                         ____________________________________
                                                         Cecilia H. Morgan
                                                         Special Master by the Appointment of the
                                                         Honorable Barbara M. G. Lynn




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